                                     Case: 15-11512-BAH Doc #: 46-2 Filed: 07/13/21 Desc: Exhibit B Page 1 of 5                                      EXHIBIT B
                                                                                 Form 2                                                                                Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         15-11512 BAH                                                                 Trustee:       Michael S. Askenaizer (490100)
Case Name:           Berman, Lisa C.                                                              Bank Name:     Mechanics Bank
                     Berman, Jay                                                                  Account:       ******6966 - Checking Account
Taxpayer ID #:       **-***3276                                                                   Blanket Bond: $50,000,000.00 (per case limit)
Period Ending:       07/01/21                                                                     Separate Bond: N/A

   1           2                           3                                     4                                       5                   6                     7
 Trans.     {Ref #} /                                               Description of Transaction                        Receipts        Disbursements           Checking
  Date      Check #            Paid To / Received From                 <Ledger Category>                  T-Code         $                  $              Account Balance
01/12/16      {17}        Mount Holyoke College            Trust distribution                            1129-000            292.84                                     292.84
01/29/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00                282.84
02/17/16      {17}        Mount Holyoke College            Trust distribution                            1129-000            408.45                                     691.29
03/01/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00                681.29
03/29/16      {17}        Mount Holyoke College            Trust distribution                            1129-000            271.63                                     952.92
03/31/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00                942.92
04/29/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00                932.92
05/31/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00                922.92
06/27/16      {17}        Mount Holyoke College            Trust distribution                            1129-000            271.63                                    1,194.55
06/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,184.55
07/29/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,174.55
08/31/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,164.55
09/29/16      {17}        Mount Holyoke College            Income payment                                1129-000            241.96                                    1,406.51
09/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,396.51
10/31/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,386.51
11/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,376.51
12/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,366.51
01/04/17      {17}        Mount Holyoke College            Income distribution                           1129-000            241.96                                    1,608.47
01/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,598.47
02/28/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,588.47
03/30/17      {17}        Mount Holyoke College            Income distribution for period ending 3/31/2017 1129-000          232.37                                    1,820.84
03/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,810.84
04/28/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,800.84
05/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               1,790.84
06/30/17      {17}        Mount Holyoke College            Trust distribution                            1129-000            241.02                                    2,031.86
06/30/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  10.00               2,021.86

                                                                                                    Subtotals :          $2,201.86               $180.00
  {} Asset reference(s)                                                                                                                 Printed: 07/01/2021 09:53 AM     V.20.33
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                                                                                Form 2                                                                                Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         15-11512 BAH                                                                 Trustee:       Michael S. Askenaizer (490100)
Case Name:           Berman, Lisa C.                                                              Bank Name:     Mechanics Bank
                     Berman, Jay                                                                  Account:       ******6966 - Checking Account
Taxpayer ID #:       **-***3276                                                                   Blanket Bond: $50,000,000.00 (per case limit)
Period Ending:       07/01/21                                                                     Separate Bond: N/A

   1           2                           3                                    4                                       5                   6                     7
 Trans.     {Ref #} /                                               Description of Transaction                       Receipts        Disbursements           Checking
  Date      Check #            Paid To / Received From                 <Ledger Category>                  T-Code        $                  $              Account Balance
07/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,011.86
08/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,001.86
09/29/17                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               1,991.86
10/02/17      {17}        Mount Holyoke College            Trust distribution. Note that check is dated   1129-000          241.02                                    2,232.88
                                                           9/30/17. Hold until Monday, 10/2 for deposit
10/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,222.88
11/30/17                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,212.88
12/27/17      {17}        Mount Holyoke College            Trust distribution                             1129-000          241.02                                    2,453.90
12/29/17                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,443.90
01/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,433.90
02/28/18      {17}        Mount Holyoke College            Trust distribution                             1129-000          181.39                                    2,615.29
02/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,605.29
03/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,595.29
04/02/18      {17}        Mount Holyoke College            Trust distribution                             1129-000          258.76                                    2,854.05
04/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,844.05
05/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,834.05
06/29/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               2,824.05
07/02/18      {17}        Mount Holyoke College            Trust distribution                             1129-000          258.76                                    3,082.81
07/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               3,072.81
08/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                10.00               3,062.81
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                 5.00               3,057.81
10/02/18      {17}        Mount Holyoke College            Trust distribution                             1129-000          258.76                                    3,316.57
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee               2600-000                                 5.00               3,311.57
01/02/19      {17}        Mount Holyoke College            Trust distribution                             1129-000          258.76                                    3,570.33
02/26/19      {17}        Mount Holyoke College            Trust distribution                             1129-000          281.46                                    3,851.79
03/28/19      101         Michael S. Askenaizer            1st Interim application for                    2100-000                               750.00               3,101.79
                                                           commissions/expenses approved 3/28/19
                                                                                                     Subtotals :        $1,979.93               $900.00
  {} Asset reference(s)                                                                                                                Printed: 07/01/2021 09:53 AM     V.20.33
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                                                                                  Form 2                                                                                Page: 3
                                                         Cash Receipts And Disbursements Record
Case Number:         15-11512 BAH                                                                 Trustee:       Michael S. Askenaizer (490100)
Case Name:           Berman, Lisa C.                                                              Bank Name:     Mechanics Bank
                     Berman, Jay                                                                  Account:       ******6966 - Checking Account
Taxpayer ID #:       **-***3276                                                                   Blanket Bond: $50,000,000.00 (per case limit)
Period Ending:       07/01/21                                                                     Separate Bond: N/A

   1           2                          3                                         4                                   5                     6                     7
 Trans.     {Ref #} /                                               Description of Transaction                       Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                 <Ledger Category>                 T-Code         $                    $               Account Balance
                                                           (Doc. No. 41)
03/28/19      102         Michael S. Askenaizer            1st Interim application for                   2200-000                                   89.85               3,011.94
                                                           commissions/expenses approved 3/28/19
                                                           (Doc. No. 41)
03/28/19      103         Internal Revenue Service         Dividend paid 45.08% on $5,268.47 Claim#      5800-000                                 2,375.48               636.46
                                                           3P; Filed: $5,268.47; Reference:
03/28/19      104         Massachusetts Department of      Dividend paid 45.08% on $276.17; Claim# 7P; 5800-000                                    124.52                511.94
                          Revenue                          Filed: $276.17; Reference:
04/01/19      {17}        Mount Holyoke College            Trust distribution                            1129-000            271.63                                      783.57
07/01/19      {17}        Mount Holyoke College            Annuity distribution                          1129-000            271.63                                     1,055.20
09/11/19                  Transition Transfer Debit                                                      9999-000                                 1,055.20                  0.00
                                                                                ACCOUNT TOTALS                              4,725.05              4,725.05                $0.00
                                                                                    Less: Bank Transfers                        0.00              1,055.20
                                                                                Subtotal                                    4,725.05              3,669.85
                                                                                    Less: Payments to Debtors                                         0.00
                                                                                NET Receipts / Disbursements            $4,725.05             $3,669.85




  {} Asset reference(s)                                                                                                                  Printed: 07/01/2021 09:53 AM     V.20.33
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                                                                                  Form 2                                                                               Page: 4
                                                         Cash Receipts And Disbursements Record
Case Number:         15-11512 BAH                                                                Trustee:       Michael S. Askenaizer (490100)
Case Name:           Berman, Lisa C.                                                             Bank Name:     Metropolitan Commercial Bank
                     Berman, Jay                                                                 Account:       ******7280 - Checking Account
Taxpayer ID #:       **-***3276                                                                  Blanket Bond: $50,000,000.00 (per case limit)
Period Ending:       07/01/21                                                                    Separate Bond: N/A

   1           2                          3                                       4                                    5                     6                     7
 Trans.     {Ref #} /                                               Description of Transaction                      Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From                 <Ledger Category>                T-Code         $                    $             Account Balance
09/11/19                  Transfer from 4083 to 7280       Transfer from 4083 to 7280                  9999-000            1,055.20                                    1,055.20
09/30/19      {17}        Mount Holyoke College            Annuity distribution                        1129-000             271.63                                     1,326.83
01/02/20      {17}        Mount Holyoke College            Annuity distribution                        1129-000             271.63                                     1,598.46
03/02/20      {17}        Mount Holyoke College            Trust distribution                          1129-000             683.67                                     2,282.13
03/31/20      {17}        Mount Holyoke College            Trust distribution                          1129-000             285.54                                     2,567.67
03/31/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                2,562.67
04/30/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                2,557.67
05/29/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                2,552.67
06/29/20      {17}        Mount Holyoke College            Annuity Distribution                        1129-000             285.54                                     2,838.21
06/30/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                2,833.21
07/31/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                2,828.21
08/31/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                2,823.21
09/28/20      {17}        Mount Holyoke College            Trust distribution                          1129-000             285.54                                     3,108.75
09/30/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                3,103.75
10/30/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                3,098.75
11/30/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.00                3,093.75
12/29/20      {17}        Mount Holyoke College            Trust distribution                          1129-000             285.54                                     3,379.29
12/31/20                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.45                3,373.84
01/29/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.22                3,368.62
02/26/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    5.03                3,363.59
03/17/21      {17}        Mount Holyoke College            Trust distribution                          1129-000             571.15                                     3,934.74
03/30/21      {17}        Mount Holyoke College            Trust distribution                          1129-000             243.46                                     4,178.20
03/31/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    6.32                4,171.88
04/30/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    6.68                4,165.20
05/28/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee            2600-000                                    6.23                4,158.97
06/29/21      {17}        Mount Holyoke College            Trust distribution                          1129-000             243.46                                     4,402.43

                                                                                                  Subtotals :          $4,482.36                 $79.93
  {} Asset reference(s)                                                                                                                 Printed: 07/01/2021 09:53 AM     V.20.33
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                                                                             Form 2                                                                                     Page: 5
                                                         Cash Receipts And Disbursements Record
Case Number:        15-11512 BAH                                                                  Trustee:       Michael S. Askenaizer (490100)
Case Name:          Berman, Lisa C.                                                               Bank Name:     Metropolitan Commercial Bank
                    Berman, Jay                                                                   Account:       ******7280 - Checking Account
Taxpayer ID #:      **-***3276                                                                    Blanket Bond: $50,000,000.00 (per case limit)
Period Ending:      07/01/21                                                                      Separate Bond: N/A

   1           2                         3                                     4                                        5                     6                     7
 Trans.     {Ref #} /                                              Description of Transaction                        Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                <Ledger Category>                  T-Code         $                    $               Account Balance
06/30/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee             2600-000                                      7.32              4,395.11
                                                                          ACCOUNT TOTALS                                    4,482.36                87.25           $4,395.11
                                                                              Less: Bank Transfers                          1,055.20                 0.00
                                                                          Subtotal                                          3,427.16                87.25
                                                                              Less: Payments to Debtors                                               0.00
                                                                          NET Receipts / Disbursements                  $3,427.16                  $87.25


                                Net Receipts :        8,152.21
                                                 ————————                                                                Net                Net                   Account
                                  Net Estate :       $8,152.21            TOTAL - ALL ACCOUNTS                         Receipts        Disbursements              Balances
                                                                          Checking # ******6966                             4,725.05              3,669.85                  0.00
                                                                          Checking # ******7280                             3,427.16                 87.25              4,395.11

                                                                                                                        $8,152.21             $3,757.10             $4,395.11




  {} Asset reference(s)                                                                                                                  Printed: 07/01/2021 09:53 AM     V.20.33
